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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


     BRYANT SULLIVAN,

         Plaintiff,

     -VS-                                             CASE NO.:

     OCWEN LOAN SERVICING, LLC,

         Defendant.
                                          /

                       COMPLAINT AND DEMAND FOR JURY TRIAL

            COMES NOW Plaintiff, Bryant Sullivan, by and through the undersigned

     counsel, and sues Defendant, OCWEN LOAN SERVICING, LLC, and in support thereof

     respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §

     227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §

     559.55 et seq. (“FCCPA”).

                                        INTRODUCTION

            1.        The TCPA was enacted to prevent companies like Defendant from

     invading American citizen’s privacy and prevent abusive “robo-calls.”

            2.        “The TCPA is designed to protect individual consumers from receiving

     intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

     S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

            3.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

     scourge of modern civilization, they wake us up in the morning; they interrupt our dinner



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     at night; they force the sick and elderly out of bed; they hound us until we want to rip the

     telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

     intended to give telephone subscribers another option: telling the autodialers to simply

     stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

            4.      According    to   the   Federal   Communications      Commission     (FCC),

     “Unwanted calls and texts are the number one complaint to the FCC. There are thousands

     of complaints to the FCC every month on both telemarketing and robocalls. The FCC

     received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

     to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

     Phones,      Federal      Communications         Commission,      (May       27,     2015),

     http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

     333676A1.pdf.

                                 JURISDICTION AND VENUE

            5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

     ($75,000.00) exclusive of attorney fees and costs.

            6.      Jurisdiction and venue for purposes of this action are appropriate and

     conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

     violations of the TCPA.

            7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

     this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

     district courts shall have original jurisdiction of all civil actions arising under the

     Constitution, laws, or treaties of the United States; and this action involves violations of


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     47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

     and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

            8.      Defendant’s principal place of business is 1661 Worthington Road, Suite

     100, West Palm Beach, Florida 33409. Accordingly, venue is appropriate with this Court

     under 28 U.S.C. §1391(b)(1), as it is a judicial district in which the defendant resides, and

     all Defendant’s reside in the State of Florida.



                                       FACTUAL ALLEGATIONS

            9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

     Pinellas County, Florida

            10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

            11.     Plaintiff is an “alleged debtor.”

            12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

     F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

     Cir. 2014).

            13.     Defendant is a corporation which was formed in Florida with its principal

     place of business located at 1661 Worthington Road, Suite 100, West Palm Beach,

     Florida 33409 and which conducts business in the State of Florida.

            14.     The debt that is the subject matter of this Complaint is a “consumer debt”

     as defined by Florida Statute §559.55(6).

            15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).




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            16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

     one thousand (1000) times in an attempt to collect a debt.

            17.     Defendant attempted to collect an alleged debt from Plaintiff by this

     campaign of telephone calls.

            18.     Upon information and belief, some or all of the calls the Defendant made

     to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

     system” which has the capacity to store or produce telephone numbers to be called, using

     a random or sequential number generator (including but not limited to a predictive dialer)

     or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

     227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an

     autodialer because of the vast number of calls he received and because he heard a pause

     when he answered his phone before a voice came on the line and/or he received

     prerecorded messages from Defendant.

            19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

     number (727) ***-3890, and was the called party and recipient of Defendant’s calls.

            20.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

     cellular telephone (727) ***-3890 in an attempt to collect on a disputed debt.

            21.     Upon receipt of the calls from Defendant, Plaintiff identified the telephone

     number on his caller ID as: 800-746-2936, an Ocwen Loan Servicing, LLC number.

     Plaintiff was familiar with this number due to the high number of telephone calls he

     received from Defendant.




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             22.      Since the Defendant began its campaign of harassing telephone calls,

     Plaintiff instructed Defendant’s agents to stop calling his cellular telephone.

             23.      On several occasions over the last four (4) years Plaintiff instructed

     Defendant’s agent(s) to stop calling his cellular telephone.

             24.      On or about November 2016, Plaintiff communicated with Defendant

     from his aforementioned cellular telephone number and instructed Defendant’s agent to

     cease calling.

             25.      Each call Defendant made to Plaintiff’s cellular telephone after Plaintiff

     first revoked consent was made willfully and knowingly by the Defendant.

             26.      Despite clearly and unequivocally revoking any consent Defendant may

     have believed they had to call Plaintiff on his cellular telephone, Defendant continued to

     place automated calls to Plaintiff’s cellular telephone number

             27.      Plaintiff’s    numerous           conversations     with         Defendant’s

     agents/representatives over the telephone wherein he demanded a cessation of calls were

     in vain, as Defendant continued to bombard Plaintiff with automated calls unabated.

             28.      Again, in or about June 2017, Plaintiff communicated with the

     Defendant’s representative via phone. During this communication, Plaintiff indicated to

     Defendant that the calls to his cellular telephone were harassing and demanded that they

     cease calling his cellular telephone number.

             29.      Each subsequent call Defendant made to Plaintiffs aforementioned cellular

     telephone number was knowing and willful and done so without the “express consent” of

     Plaintiff.



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             30.    Again, in or about February 2018, Plaintiff communicated with the

     Defendant’s representative via phone. During this communication, Plaintiff indicated to

     Defendant that the calls to his cellular telephone were harassing and demanded that they

     cease calling his cellular telephone number.

             31.    Again, in or about June 2018, Plaintiff communicated with the

     Defendant’s representative via phone. During this communication, Plaintiff indicated to

     Defendant that the calls to his cellular telephone were harassing and demanded that they

     cease calling his cellular telephone number.

             32.    Again, in or about August 2018, Plaintiff communicated with the

     Defendant’s representative via phone. During this communication, Plaintiff indicated to

     Defendant that the calls to his cellular telephone were harassing and demanded that they

     cease calling his cellular telephone number.

             33.    As a result of these unwanted and harassing calls, Plaintiff suffered

     conduct reasonably expected to abuse or harass him.

             34.    In or about November 2016, Plaintiff was in the process of starting of

     forming a new company in the medical device field, a job requiring significant attention

     to detail.

             35.    Plaintiff also told Defendant’s agents on many occasions that he was

     unable to answer calls while he was working and that it was detrimental to his work to be

     receiving these calls.




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             36.     Often times, during meeting and telephone conferences, Defendant would

     call Plaintiff’s cellular telephone number multiple times in a single day (sometimes more

     than once per hour) in an effort to harass and annoy Plaintiff into paying.

             37.     Defendant’s incessant calling would often divert Plaintiff’s attention away

     from his job.

             38.     Defendant has a corporate policy to use an automatic telephone dialing

     system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

     cellular telephone in this case.

             39.     Defendant has a corporate policy to use an automatic telephone dialing

     system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

     this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

             40.     Defendant’s corporate policy is structured so as to continue to call

     individuals like Plaintiff, despite these individuals explaining to Defendant they wish for

     the calls to stop.

             41.     Defendant has numerous other federal lawsuits pending against it alleging

     similar violations as stated in this Complaint.

             42.     Defendant has numerous complaints across the country against it asserting

     that its automatic telephone dialing system continues to call despite requested to stop.

             43.     Defendant has had numerous complaints from consumers across the

     country against it asking to not be called; however, Defendant continues to call the

     consumers.




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             44.    Defendant’s corporate policy provided no means for Plaintiff to have his

     number removed from Defendant’s call list.

             45.    Defendant has a corporate policy to harass and abuse individuals despite

     actual knowledge the called parties do not wish to be called.

             46.    Not a single call placed by Defendant to Plaintiff were placed for

     “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

             47.    Defendant willfully and/or knowingly violated the TCPA with respect to

     Plaintiff.

             48.    From each and every call placed without consent by Defendant to

     Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

     upon his right of seclusion.

             49.    From each and every call without express consent placed by Defendant to

     Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of his cellular telephone

     line and cellular phone by unwelcome calls, making the phone unavailable for legitimate

     callers or outgoing calls while the phone was ringing from Defendant’s calls.

             50.    From each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.

     For calls he answered, the time he spent on the call was unnecessary as he repeatedly

     asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to

     unlock the phone and deal with missed call notifications and call logs that reflected the

     unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

     phone, which are designed to inform the user of important missed communications.



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             51.     Each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.

     For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

     them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

     with missed call notifications and call logs that reflected the unwanted calls. This also

     impaired the usefulness of these features of Plaintiff’s cellular phone, which are designed

     to inform the user of important missed communications.

             52.     Each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

     phone’s battery power.

             53.     Each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

     phone or network.

             54.     Each and every call placed without express consent by Defendant to

     Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his

     cellular phone and his cellular phone services.

             55.     As a result of the calls described above, Plaintiff suffered an invasion of

     privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

     nervousness, embarrassment, distress and aggravation.

                                             COUNT I
                                      (Violation of the TCPA)

             56.     Plaintiff fully incorporates and realleges paragraphs 1 through 50 as if

     fully set forth herein.


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             57.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

     for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

     notified Defendant that he wished for the calls to stop.

             58.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

     cellular telephone using an automatic telephone dialing system or prerecorded or artificial

     voice without Plaintiff’s prior express consent in violation of federal law, including 47

     U.S.C § 227(b)(1)(A)(iii).

             WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

     triable and judgment against Defendant for statutory damages, punitive damages, actual

     damages, treble damages, enjoinder from further violations of these parts and any other

     such relief the court may deem just and proper.



                                             COUNT II
                                     (Violation of the FCCPA)

             59.     Plaintiff fully incorporates and realleges paragraphs 1 through 50 as if

     fully set forth herein

             60.     At all times relevant to this action Defendant is subject to and must abide

     by the laws of the State of Florida, including Florida Statute § 559.72.

             61.     Defendant has violated Florida Statute § 559.72(7) by willfully

     communicating with the debtor or any member of his or her family with such frequency

     as can reasonably be expected to harass the debtor or his or her family.




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            62.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging

     in other conduct which can reasonably be expected to abuse or harass the debtor or any

     member of his or her family.

            63.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

     prior and continuous sustaining of damages as described by Florida Statute § 559.77.

            WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

     triable and judgment against Defendant for statutory damages, punitive damages, actual

     damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

     any other such relief the court may deem just and proper.

                                                  Respectfully submitted,

                                                    /s/ John C. Distasio
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